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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

 LISA RINDFLEISCH, TIFFANY
 MELENDEZ, LAURIE BAKER and
 CHRISTINA NELMES,
               Plaintiffs,                          CIVIL ACTION FILE
 v.                                                 NO. 1:10-cv-3288-SCJ
 GENTIVA HEALTH SERVICES, INC.,
               Defendant.

                                     JUDGMENT

       This action having previously come before the court, Honorable Steve C. Jones,

United States District Judge on Defendant's Motions for Summary Judgment and the court

having granted said motions, it is

       Ordered and Adjudged that Plaintiffs take nothing, that Defendant Gentiva Health

Services, Inc. recover its costs of this action from Plaintiffs Lisa Rindfleisch, Tiffany

Melendez, Laurie Baker and Christina Nelmes, and this action be, and the same hereby is

DISMISSED.

       Dated at Atlanta, Georgia this 23rd day of February, 2016.


                                               JAMES N. HATTEN
                                               CLERK OF COURT

                                           By: s/Amanda Querrard
                                                  Deputy Clerk

Prepared, Filed and Entered
In the Clerk's Office
    February 23, 2016
James N. Hatten
Clerk of Court

By: s/Amanda Querrard
       Deputy Clerk
